              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      BRYSON CITY DIVISION


UNITED STATES OF AMERICA         )
                                 )
                   vs.           )
                                 )
DAVID CHADWICK CRISP             )             NO. 2:13-CR-16-1
DAVID FRANK CRISP                )             NO. 2:13-CR-16-2
ROBERT WILLIE BUMGARNER          )             NO. 2:13-CR-16-5
________________________________ )



UNITED STATES OF AMERICA         )
                                 )
                   vs.           )
                                 )
DAVID CHADWICK CRISP             )             NO. 2:14-PO-4-1
DAVID FRANK CRISP                )             NO. 2:14-PO-4-2
ROBERT WILLIE BUMGARNER          )             NO. 2:14-PO-1
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                      MEMORANDUM AND ORDER


     THESE MATTERS are before the Court on the three above-named

defendants’ Motions for Joinder and Consolidation. [CR-16 Doc. 120; PO-4

Doc. 13; PO-1 Doc. 8].        The defendants have moved to join and to

consolidate for trial their pending petty offenses with their felony offenses

charged in case number 2:13-CR-16.        For the reasons that follow, the

Court will deny the defendants’ motions to join and consolidate.


     Case 2:14-po-00004-DLH    Document 23   Filed 08/06/14   Page 1 of 7
               PROCEDURAL BACKGROUND, NO. 2:13-CR-16

         Defendants David Chadwick Crisp (“D.C. Crisp”), David Frank Crisp

(“D.F. Crisp”), Robert Willie Bumgarner, Tommy Gene Queen, and Mitchell

Allen Jenkins, were named in various felony counts of an Indictment

returned by the grand jury in this District on June 4, 2013. [CR-16 Doc. 1].

The defendants were charged with one conspiracy to violate wildlife laws

and regulations as well as with individual substantive counts thereof.

Additionally, defendant D.C. Crisp, was charged with two weapons

offenses for having possessed different firearms on different occasions

while being an unlawful user of and addicted to a controlled substance. [Id.

at 6].

                PROCEDURAL BACKGROUND, NO. 2:14-PO-4

         Defendants D.C. Crisp and D.F. Crisp were named in various counts

of an eighteen-count Bill of Information filed by the United States Attorney

in this District on May 22, 2014. [PO-4 Doc. 1]. The Information alleged

these two defendants, while within the special territorial jurisdiction of the

United States, committed numerous petty offenses in violation of National

Park Regulations, National Forest Regulations, and North Carolina law by

assimilation. [Id.].




                                        2

         Case 2:14-po-00004-DLH   Document 23   Filed 08/06/14   Page 2 of 7
             PROCEDURAL BACKGROUND, NO. 2:14-PO-1

      Defendant Bumgarner was named alone in a two-count Bill of

Information filed by the United States Attorney in this District on May 22,

2014. [PO-1 Doc. 1]. The Information alleged Bumgarner, while within the

special territorial jurisdiction of the United States, committed two petty

offenses in violation of National Forest Regulations. [Id.].

                                DISCUSSION

      In nearly identical motions and memoranda, each defendant has filed

a “Motion for Joinder and Consolidation.” [CR-16 Doc. 120; PO-4 Doc. 13;

PO-1 Doc. 8].    The defendants seek to consolidate their pending petty

offenses in cases numbered 2:14-PO-1 and 2:14-PO-4, with their felony

offenses charged in case number 2:13-CR-16, and request that the Court

try all matters in an single proceeding. The Government opposes the

defendants’ motions and has responded to them by memorandum filed July

11, 2014. [CR-16 Doc. 123].

      Federal Rule of Criminal Procedure 13 sets forth succinctly the issues

to be considered in consolidation: “The Court may order that separate

cases be tried together as though brought in a single indictment or

information if all offenses and all defendants could have been joined in a

single indictment and information.” Id. (emphasis added). Typically, the


                                       3

      Case 2:14-po-00004-DLH    Document 23    Filed 08/06/14   Page 3 of 7
Court would next consider the joinder rule, Rule 8(a), and compare the

offenses – “whether felonies or misdemeanors or both” – to determine if

they are of a similar character, or are based upon the same transactions, or

are part of common scheme. Fed.R.Crim.P. 8(a). In the present situation,

the Court need not undertake the normal assessment of contrasting the

character of all of the charges, with an eye toward identifying some

commonality of purpose or plan among them, to determine whether they

may be tried together. The nature of the two types of offenses alleged,

petty offenses on the one hand and felony offenses on the other, fail Rule

13’s preliminary requirement because all such offenses cannot be joined in

a single indictment or information due to jurisdictional restrictions.

      Petty offenses, by definition, consist of a group of offenses made up

of infractions and of Class B and C misdemeanors. 18 U.S.C. § 19. Petty

offenses are unique in that the punishment for violating any single petty

offense cannot exceed more than six months’ imprisonment. 18 U.S.C. §

3559(a)(7)-(9). Consequently, the Sixth Amendment jury trial right is not

implicated when a defendant is charged with a petty offense. Frank v.

United States, 395 U.S. 147 (1969) (notwithstanding the constitutional right

to trial by jury in all criminal prosecutions, it has long been the rule that so-

called petty offenses may be tried without a jury). Id. at 148; United States


                                       4

      Case 2:14-po-00004-DLH    Document 23     Filed 08/06/14   Page 4 of 7
v. Merrick, 459 F.2d 644, 645 (4th Cir. 1972) (there is no constitutional right

to a trial by jury for a petty offense). With no constitutional jury trial right

flowing to one accused of a petty offense, a magistrate judge’s authority to

preside over the trial of such a case does not violate the language or the

spirit of the Constitution’s Article III and its strict classification of those who

may exercise constitutional (as opposed to statutory) judicial power.

      Presumably because         of   these    Constitutionally-based     reasons

inherent in the Sixth Amendment and Article III, Congress has chosen to

give petty offenses different procedural treatment apart from felonies and

Class A misdemeanors. In Chapter 219 of Title 18, United States Code,

Congress has given exclusive and original jurisdiction over petty offenses

to United States magistrate judges.            “Any person charged with a

misdemeanor, other than a petty offense may elect, however, to be tried

before a district judge for the district in which the offense was committed.”

18 U.S.C. § 3401(b) (emphasis added). The negative implication of the

emphasized phrase, clearly, is that magistrate judges are the only judicial

officers vested with exclusive jurisdiction to hear petty offenses. The fact

that magistrate judges also enjoy original jurisdiction over petty offenses is

borne out in the statutory section following § 3401 and the Rules of

Criminal Procedure. Section 3402 explains that “[i]n all cases of conviction


                                        5

      Case 2:14-po-00004-DLH     Document 23     Filed 08/06/14   Page 5 of 7
by a United States magistrate judge an appeal of right shall lie from the

judgment of the magistrate judge to a judge of the district court of the

district in which the offense was committed.” 18 U.S.C. § 3402. Further,

the Rules of Criminal Procedure specifically mandate that if a petty offender

convicted in magistrate court gives notice of appeal, she “is not entitled to a

trial de novo by a district judge. The scope of the appeal is the same as in

an appeal to the court of appeals from a judgment entered by a district

judge.” Fed.R.Crim.P. 58(g)(2)(D).

      The upshot of this judicial precedent, together with Congress’

statutory framework and the federal criminal rules, therefore, establish that

petty offenses fall within the exclusive purview of magistrate court while all

other criminal offenses may be tried before the district court. In this matter,

all of the offenses – petty and felonious – could not have been joined in a

single indictment or information due to the Congress’ division of jurisdiction

between district and magistrate court based upon offense type. Any such

indictment or information containing both petty offense charges and felony

charges would be flawed and would, of necessity, require severance.

      As set forth above, all of the offenses each defendant is charged with

committing, beyond those listed in the Indictment filed in 2:13-CR-16, are




                                      6

      Case 2:14-po-00004-DLH    Document 23   Filed 08/06/14   Page 6 of 7
petty offenses.    The express language of Rule 13 prohibits their

consolidation. Thus, the defendants’ motions must be denied.

                                   ORDER

     Accordingly, IT IS, THEREFORE, ORDERED that defendant David

Chadwick Crisp’s Motion for Joinder and Consolidation [CR-16 Doc. 120],

defendant David Frank Crisp’s Motion for Joinder and Consolidation [PO-4

Doc. 13], and defendant Robert Willie Bumgarner’s Motion for Joinder and

Consolidation [PO-1 Doc. 8], are all DENIED.

     IT IS SO ORDERED.


                          Signed: August 6, 2014




                                        7

     Case 2:14-po-00004-DLH    Document 23         Filed 08/06/14   Page 7 of 7
